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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

Case No.    LA CV20-04858 JAK (ASx)                                              Date    January 11, 2021

Title       ALO, LLC v. Tonic Active, Inc. et al




  Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                               Not Reported
                   Deputy Clerk                                       Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                     Not Present                                              Not Present


  Proceedings:            (IN CHAMBERS) ORDER RE NOTICE OF SETTLEMENT (DKT. 21); AND

                          TO SHOW CAUSE RE DISMISSAL FOR LACK OF PROSECUTION


On September 14, 2020, Plaintiff filed a Notice of Settlement (the “Notice” (Dkt. 21)), which stated that the
parties “will endeavor to finalize [a formal settlement agreement (the ‘Agreement’)] and dismiss
[Defendant Evolve Fit Wear, LLC (‘Evolve’)] from this action as soon as practicable and respectfully
request that the parties are given 30 days to finalize the Agreement.” No notice of dismissal has been
filed. On or before January 22, 2021, Plaintiff and Evolve shall file a joint report stating their collective
and/or respective position(s) on the status of settlement. If Plaintiff files a Notice of Dismissal as to Evolve
before January 22, 2021, no joint report will be necessary.

With respect to Tonic Active, Inc. (“Tonic”), which is also a defendant, neither a proof of service nor any
response to the Complaint has been filed, notwithstanding that this action was filed on June 1, 2020. Dkt.
1. Unless good cause is shown in response to this Order, pursuant to Fed. R. Civ. P. 4(m), this action
shall be dismissed without prejudice as to Tonic. Rule 4(m) provides for such a dismissal if the summons
and complaint have not been served within 90 days after the complaint was filed. If Plaintiff seeks to show
good cause, it shall do so through a filing made on or before January 22, 2021.


IT IS SO ORDERED.
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                                                             Initials of Preparer   TJ




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